Case 6:20-cv-06003-RTD-MEF Document9 _ Filed 01/23/20 Page 1 of 14 PagelD #: 6

FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983

IN THE UNITED STATES DISTRICT COURT
US DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS .
DIVISION ESTERN DIST ARKANSAS

Peesiorr Pray Uses JAN 23 2020
(Enter above the fwil name of the plaintiff

in this action.)

Prisoner ID No.

DOUGLAS F. YOUNG, Clerk
y
LwDlo1\ Deputy Clerk

(Do Not Put Your Social Security Number)

V.

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CASE NO. bo t90- CV - BloOdd- RTD 7 MEF

Drown Jury Trial: Yes a No
(Check One)

DR7 ' S Cacce \ at
(Enter above the full name of the defendant,
or defendants, in this action.)

I. Previous Lawsuits

A.

Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action?

Yes ~~ No

If your answer to A is yes, describe each lawsuit in the space below including the
exact plaintiff name or alias used. (If there is more than one lawsuit, describe the
additional lawsuits on another piece of paper, using the same outline.)

I. Parties to this lawsuit

Plaintiffs: “Decne thoy Cormert

Defendants: Wit my a CHC? claana\ kanal

 

 

 

 

 

 

2. Court (if federal court, name the district; if state, name the county):

“Yadoks ( any Cy Com) Crk

3. Docket number: No. \Q—o 4 - CC

4. Name of judge to whom case was assigned: NV pay

5. Disposition (for example: Was the case dismissed? Was it appealed?
Is it still pending?) Domuwd

6. Approximate date of filing lawsuit: NN Wumber OLS

7, Approximate date of disposition: _(\gycin- Aon\ PIG

(Updated 7/2019)
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ll. Place of Present Confinement: _ Oy LG a LOL mox
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II. There is a written prisoner grievance procedure in the Arkansas Department of Correction and
in your county jail. Failure to complete the grievance procedure may affect your case in federal
court.

A. Did you present the facts relating to your complaint in the state or county written prisoner
grievance procedure?

Yes 4 No

B. If your answer is YES, Attach copies of the most recent written grievance(s)/response(s)
relating to your claims showing completion of the grievance procedure. FAILURE TO
ATTACH THE REQUIRED COPIES MAY RESULT IN THE DISMISSAL OF YOUR
COMPLAINT. If copies are not available, list the number assigned to the grievance(s)
and the approximate date it was presented.

Cc. If your answer is NO, explain why not:

 

 

 

IV. Parties

(In item A below, place your name in the first blank and place vour present address in the second
blank.)

\

A. Your Full Name: _ Y:

Address: Vn. Vaan lop, Giddy, Ann AWAY

 

(In Item B below, place the full name of the defendant in the first blank, his official position in the
second blank, his place of employment in the third blank, and his address in the fourth blank.)

Do Not List Witnesses.
You may not name the jail as a Defendant. The jail is a building and cannot be sued.
B. Read carefully and fill out all information sought.

1. Defendant #1.

Full Name: Sinaquille, Wown

Position: Oak. (sedigank)

Place of Employment: Quaumie Puen (oyehiona\ Unit

Address:

 

 
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2. Defendant #2

Full Name: —Sparopn Toran
wD

Position: —Seoxpan
Place of Employment: Ww yoOrstin Qivur Cruilnona UA)

Address:

 

 

 

 

3. Defendant #3

Full Name:

 

Position:

 

Place of Employment:

 

Address:

 

 

4. Defendant #4

Full Name:

 

Position:

 

Place of Employment:

 

Address:

 

 

If you need more space for additional Defendants, list the additional Defendants on another
piece of paper, using the same outline.

V. At the time of the alleged incident(s), were you:
(check the appropriate blank)

in jail and still awaiting trial on pending criminal charges
7 serving a sentence as a result of a judgment of conviction
in jail for other reasons (e.g., alleged probation violation, etc.)

Explain: x & iN C3

 

 

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VI. Statement of Claim

State every ground on which you claim that one or more of the Defendants violated your federal
constitutional rights. For example, if you have an excessive force claim and a denial of medical
care claim, you must fill out a separate section for each different claim. This section should be
limited to the facts of your claim.

With respect to each claim, briefly describe the actions taken by each Defendant who you believe
was involved in violating your rights. Include also the names of other persons involved, dates
and places. Do not give any legal arguments or cite any cases or statutes. (Use as much space
as you need. Attach extra sheets if necessary.)

Claim Number # 1:

Type of Claim (for example, excessive force, denial of medical care, etc.):

Se, Gdarwo.

Date of the Occurrence:

 

 

Name of Each Defendant involved:

 

 

 

 

Describe the acts or omissions of the Defendant(s) that form the basis for Claim #1 and any harm
caused by it.

 

 

 

 

 

With regard to Claim #1, are you suing Defendant(s) in his or her: (check the appropriate blank)

official capacity only (An official capacity claim is the same as suing the governmental
entity this Defendant works for and requires proof that a custom or policy of the
governmental entity caused the alleged violation).

personal capacity only (A personal capacity claim is one that seeks to hold an individual
liable for his own actions taken in the course of his duties).

\/ both official and personal capacity
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If you are asserting an official capacity claim, please describe the custom or policy that you
believe caused the violation of your constitutional rights.

 

 

 

 

 

 

Claim Number #2:

Type of Claim (for example, excessive force, denial of medical care, etc.):

 

 

Date of the Occurrence:

 

Name of Each Defendant involved:

 

 

 

 

Describe the acts or omissions of the Defendant(s) that form the basis for Claim #2 and any
harm caused by it.

 

 

 

 

 

With regard to Claim #2, are you suing Defendant(s) in his or her: (check the appropriate blank)
official capacity only (An official capacity claim is the same as suing the governmental
entity this Defendant works for and requires proof that a custom or policy of the
governmental entity caused the alleged violation).

personal capacity only (A personal capacity claim is one that seeks to hold an individual
J liable for his own actions taken in the course of his duties).

both official and personal capacity
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If you are asserting an official capacity claim, please describe the custom or policy that you
believe caused the violation of your constitutional rights.

 

 

 

 

 

Claim Number # 3:

Type of Claim (for example, excessive force, denial of medical care, etc.):

 

 

Date of the Occurrence:

 

Name of Each Defendant involved:

 

 

 

 

Describe the acts or omissions of Defendant(s) that form the basis for Claim #3 and any harm
caused by it.

 

 

 

 

 

With respect to Claim #3, are you suing Defendant(s) in his or her: (check the appropriate blank)
official capacity only (An official capacity claim is the same as suing the governmental
entity this Defendant works for and requires proof that a custom or policy of the
governmental entity caused the alleged violation).

personal capacity only (A personal capacity claim is one that seeks to hold an individual
liable for his own actions taken in the course of his duties).

both official and personal capacity
Case 6:20-cv-06003-RTD-MEF Document9 Filed 01/23/20 Page 7 of 14 PagelD #: 12

If you are asserting an official capacity claim, please describe the custom or policy that vou
believe caused the violation of your constitutional rights.

 

 

 

 

 

If you need more space for more claims, list the additional claims on another piece of paper,
using the same outline.

VII. Relief

If you are seeking to recover damages from the named Defendants, check the appropriate blank
or blanks below for the type or types of damages that you are seeking:

\/ Compensatory damages (designed to compensate persons for injuries, such as physical
/ pain and suffering, etc., that are caused by the deprivation of constitutional rights)

Punitive damages (designed to punish a defendant for engaging in misconduct and deter
a defendant and others from engaging in such misconduct in the future)

State briefly below any other relief you are seeking in this action. Make no legal arguments. Cite
no cases or statutes. If you are requesting money damages, include the amounts of any actual
damages and/or punitive damages you are claiming. Explain why vou believe vou are entitled to
recover those damages.

Soe Woche

 

 

 

 

I declare under penalty of perjury (18 U.S.C. § 1621) that the foregoing is true and correct.
Executed this aor day of TONuoyuy 20020.

“Veustra Cannes

Printed Name of Plaintiff

Signature of Plaintiff

 
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UNIT LEVEL GRIEVANCE FORM(Attachment J) FOR OFBICE USE ONLY
Unit/Center \/nivyry Supey MNoX GRV. #

Name \ Date Received:

ADC# \Wioy) Brks # CM \o® Job Assignment (8 oan\in GRV. Code #:
ccs ©Vroavam

2 -QI-1 “1% (Date) STEP ONE: Informal Resolution

2- T- Ig (Date) STEP TWO: Formal Grievance (All complaints/concerns should first be handled informally.)
If the issue was not resolved during Step One, state why: “nt 2 Qrieno ath Nt
Stoied “Wy woos mph warn § Wy ukiom + | ae G CODA CY BAA om Owns
, (Date) EMERGENCY GRIEVANCE (An emergency situation is one in which you may be subject to +: ee
a substantial risk of physical harm: emergency grievances are not for ordinary problems that are not of serious ~ > i
nature). If you marked yes, give this completed form to the designated problem-solving staff, who = sign the
attached emergency receipt. In an Emergency, state why:

 

 

 

 

 

 

 

 

Is this Grievance concerning Medical or Mental Health Services? If ‘yes, circle one:_medietl or mental

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Inmate Signature “y a a & Date
are ed,threatened because of your use of thepri cess, report it immediately to the Warden or designee.
Thit was received on 22/2)/ 8 * é s or an Emer, ency Grievance
Deion or(Noy This form was forwarded to medical or oe health? _— /“@ (Yes ier If yes, name

 

of the pe 7) department eeivig thi ym: al a 4 j l se ’ 9 = =

 

 

 

 

 

 

 

PRINT STAFFNAME (PROBLEM SOLVER) ID Number ee
Describe action taken to resolve complaint, including ae CC O( ‘k; we lo EOMiS
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f aa 7 : ~ rs 3 £ a
Staff Si & Date Returned a fate Si & Date Re
This form was received on (date), pursuant to Step Two. Is it an Emergency? _—_—_—=s(Yesor a NO
Staff Who Received Step Two Grievance: Date:

 

Action Taken: _ (Forwarded to Grievance Officer/Warden/Other) Date:
If > ie: provide name of person receiving this form: a Date:

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DISTRIBUTION: YELLOW & PINK - a ae fe - Grievance Officer; ORIGINAL - Given back
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\ FOR or E USE ONLY

 
 

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‘Name Dp “ — i. is +t : ee pate recived 4 AD SP

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ADC# Mass Sic 7] Brks #0 SCC Job Assignment prs ecu RV. Code # _ ¥O3-_

F234 S , (Date) STEPONE® Informal Resolution

 

 

 

 
  

UI d( kA A. (ae STEPTWO: Formal oe (All rile ie a teas fe first, be handled informally.)
S hy RY ¥ »

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Ifthe issye was net resolve ?, PASI
Hew. clef Med Ln ‘
(Date) EMERGENCY GRIEVANCE (An emergency situation is one in which you may bf subject to

a substantial risk of physical'harm: emergency grievancés are not for ordinary problems that ate not of serious
nature). If you marked yes, give this completed form to the designated problem-solving staff, who will sign the
attached emergency receipt. In an Emergency, state why:

 

   

 

   
  
 
  
  

 

Is this Grievance concerning Medical or Mental Health Services? If yes, circle one:, me ical or mental
BRI EFLY state your one complaint/concern and be pete e as to the Ramee as pee names f personnel

 

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oa Signature

 

HIS SECTION T FILLED OUT BY STAFF Y
This form was received on (date), and determined to be Step One and/or an Emergency Grievance

 

 

(Yes or No). This form was forwarded to medical or mental health? (Yes or No). If yes, name
of the person in that department seconyyg ae form: , Date :
lop fee: ip. 3 C4 (G58
PRINT STAFF NAME (PROBLEM SOLVER) ID ‘Namber Staff Signature _ Date Received

Describe action taken to resolve complaint, including dates:

 

 

 

 

 

Staff Signature & Date Returned Inmate Sienature & Date Received

This form was received on 04. it. f 8 (date), pursuant to Step Two. Is it an Emergency? Al (Yes or No).
Staff Who Received Step Two Grievance: Ne Date: 1/8

h,
Action Taken: (Forwarded to Grievance  Officer/Warden/Other) Date:
If forwarded, provide name of person receiving this form: Date:

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